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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

                                              §
Loryn Speight et al,                          §
                                              §
                    Plaintiffs,               §
                                              §
vs.                                           §          1:22-CV-00688-DH
                                              §
Tolteca Enterprises, Inc. et al,              §
                                              §
                    Defendants.

                                      ORDER

      On October 3, 2022, this case was reassigned to Magistrate Judge Dustin M.

Howell. The parties or counsel acting on their behalf are ORDERED to appear before

the Court for a status conference on Tuesday, November 1, 2022, at 10:00 a.m. The

status conference will be conducted by ZOOM. Court staff will be in contact with the

parties prior to the hearing with the details needed for connecting to the conference.

Finally, all future pleadings should be filed with “DH” after the cause number, as

reflected above.

      SIGNED October 4, 2022.


                                       DUSTIN M. HOWELL
                                       UNITED STATES MAGISTRATE JUDGE




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